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                     THE UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH


UNITED STATES OF AMERICA
                                         ORDER GRANTING PRO HAC VICE
                   Plaintiff,
                                         ADMISSION
 v.
                                         CASE NO: 2:18cr-00365-JNP
JACOB KINGSTON et al

                  Defendant.



      Before the court is Local Counsel’s Motion for Pro Hac Vice Admission of

Eugene P. Harris. Based on the motion and for good cause appearing,

      IT IS HEREBY ORDERED that the motion is GRANTED.



DATED this 21st day of June, 2023.


                                                    BY THE COURT:



                                                    Jill N. Parrish
                                                    U.S. District Court Judge
